Case 2:24-cv-02123-TLP-tmp Document 1-3 Filed 02/26/24 Page 1 of 2                      PageID 94




                           UNITED STATES DISTRICT COURT
                           WESTER DISTRICT OF TENNESSEE
                                WESTERN DIVISION


LEXINGTON ASSET MANAGEMENT (TN) LLC
and 1437 CENTRAL HOLDINGS, LLC,

       Plaintiffs,

v.                                                         No.

CERTAIN UNDERWRITERS AT LLOYD’S
SUBSCRIBING TO N17NA19000;
SWISS RE CORPORATE SOLUTIONS
CAPACITY INSURANCE CORPORATION
f/k/a FIRST SPECIALTY INSURANCE
CORPORATION;
SCOTTSDALE INSURANCE COMPANY
d/b/a NATIONWIDE E&S; and
NAVIGATORS SPECIALTY INSURANCE
COMPANY, INC.,

       Defendants.


                                 CONSENT TO REMOVAL


       Defendants Certain Underwriters at Lloyd’s London Subscribing to N17NA190000; Swiss

Re Corporate Solutions Capacity Insurance Corporation f/k/a First Specialty Insurance

Corporation; and Navigators Specialty Insurance Company, Inc., by and through counsel, hereby

consent to removal of this case from the Chancery Court of Shelby County, Tennessee to the

United States District Court for the Western District of Tennessee, Western Division.
Case 2:24-cv-02123-TLP-tmp Document 1-3 Filed 02/26/24 Page 2 of 2      PageID 95
38202-240151 (RER)




Date: February 26, 2024.              s/ Cory R. Miller
                                   Parks T. Chastain (BPR #13744)
                                   Cory R. Miller (BPR #34770)
                                   Brewer, Krause, Brooks, Chastain & Meisner PLLC
                                   545 Mainstream Drive, Suite 101
                                   Nashville, Tennessee 37228
                                   (615) 630-7717
                                   pchastain@bkblaw.com
                                   cmiller@bkblaw.com

                                   Attorneys for Defendants Certain Underwriters at
                                   Lloyd’s London Subscribing to N17NA190000;
                                   Swiss Re Corporate Solutions Capacity Insurance
                                   Corporation f/k/a First Specialty Insurance
                                   Corporation; and Navigators Specialty Insurance
                                   Company, Inc.




                                      2
